                 Case 23-01069-PDR        Doc 1    Filed 03/27/23     Page 1 of 10




                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   www.flsb.uscourts.gov


In re:                                                          Case No. 23-10694-PDR

SEA SPINE ORTHOPEDICS INSTITUTE, LLC,                           Chapter 7

      Debtor.
__________________________________________/

KENNETH A. WELT, as Chapter 7 Trustee of
SEA SPINE ORTHOPEDICS INSTITUTE, LLC,

         Plaintiff,                                             Adv. No.

v.

SENTINEL BILLING SOLUTIONS, LLC,

      Defendant.
__________________________________________/

     COMPLAINT FOR TURNOVER, ACCOUNTING, AND INJUNCTIVE RELIEF

         Plaintiff, KENNETH A. WELT (the “Trustee” or “Plaintiff”), as Chapter 7 Trustee of

SEA SPINE ORTHOPEDICS INSTITUTE, LLC (the “Debtor”), files this Complaint for

Turnover, Accounting, and Injunctive Relief against Defendant, SENTINEL BILLING

SOLUTIONS, LLC, and states:

                           PARTIES, JURISDICTION AND VENUE

         1.    On January 27, 2023 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under Chapter 7 of Title 11 of the United States Code (the “Bankruptcy Code”).

Thereafter, Kenneth A. Welt was appointed was as the Debtor’s Chapter 7 Trustee.

         2.    Defendant, Sentinel Billing Solutions, LLC (“Sentinel” or “Defendant”), is an

Arizona limited liability company which conducts business nationwide, including within the
               Case 23-01069-PDR         Doc 1       Filed 03/27/23   Page 2 of 10




Southern District of Florida. Sentinel’s principal office is located at 1615 E. Warner Road, Suite

3, Tempe, Arizona 85284.

        3.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157(a) and

1334.

        4.    This adversary proceeding is brought pursuant to Fed. R. Bankr. P. 7001.

        5.    This is both a core and noncore proceeding pursuant to 28 U.S.C. § 157(b)(2)(A),

(E) and (O), and the Trustee consents to the entry of final orders and judgment by the

Bankruptcy Court in accordance with Fed. R. Bankr. P. 7008(a). The non-core claim for an

accounting is inextricably intertwined with the core claim for turnover pursuant to 11 U.S.C. §

542.

        6.    Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

        7.    All conditions precedent to the filing of this action have been performed, waived or

satisfied.

                            FACTS COMMON TO ALL COUNTS

        8.    Prior to the Petition Date, the Debtor operated an orthopedic medical practice with

locations in, among other places, Orlando, Jacksonville, and Davenport, Florida, as well as in

Michigan.

        9.    Part of the Debtor’s business was to provide medical services and treatment to

individual patients resulting from personal injury claims, including charges for physicians,

therapy, facility, diagnostic, pharmaceuticals, and durable medical equipment (the “Medical

Services”).

        10.   In some cases, the Medical Services were billed against various payors such as

private and public health insurance carriers, cash payors, and automobile insurance carriers. In




                                                 2
                  Case 23-01069-PDR       Doc 1       Filed 03/27/23   Page 3 of 10




other cases, the Debtor deferred collection of payment for the Medical Services and would

instead be paid from the proceeds of a settlement (or a judgment) on account of the particular

personal injury action.

          11.    According to its website, Sentinel is a medical billing service and coder that

provides medical professionals an efficient and low-cost billing solutions by assisting with

claims, payment issues, insurance companies, and patients. 1

          12.    On or around February 1, 2018, the Debtor and Sentinel entered into a Servicing

Agreement in which Sentinel agreed to provide billing support services to the Debtor (the

“Sentinel Contract”). The initial term of the Sentinel Contract was twelve (12) months with

automatic renewal for additional one-year terms upon expiration of the previous term unless

written notice is given by either party’s desire not to renew.

          13.    The Sentinel Contract has been deemed rejected as a matter of law. 11 U.S.C. §

365(d)(1).

          14.    The billing support services authorized under the Sentinel Contract included,

among other things, Letter of Protection (“LOP”) Factoring Services, which included proper

submission and follow up on all LOP cases which the Debtor has elected to sell and/or factor to

or through a third-party factor.

          15.    Between 2017 and 2022, the Debtor entered into various agreements purporting to

sell its accounts receivables to third party factoring companies that each agreed to purchase

certain receivables of the Debtor that were guaranteed by a medical lien or letter of protection

(the “Factoring Agreements”). Some of these Factoring Agreements are in fact loan

transactions as opposed to outright sales of the Debtor’s interests in the account receivables.



1
    Sentinelbilling.com.


                                                  3
              Case 23-01069-PDR         Doc 1         Filed 03/27/23   Page 4 of 10




       16.   Sentinel, upon information and belief without input from the Debtor, would

negotiate the Factoring Agreements, including the payment percentage and which receivables

would be sold. In addition, Sentinel would simultaneously negotiate collection deals to act as

collection agent for these factoring companies.

       17.   Prior to the Petition Date, the Debtor’s CEO was Mark Seda. Upon information

and belief, Mark Seda is a current or former member of or owner in Sentinel.

       18.   The Debtor is no longer operating.

       19.   Sentinel has collected and continues to collect and hold monies on account of

services rendered by the Debtor, that originated from accounts in the name of the Debtor or

money owed to the Debtor, whether or not such money or account was allegedly sold,

transferred, factored, liened, encumbered or otherwise transferred (the “Estate Funds”).

       20.   Sentinel continues to collect the Estate Funds arising out of the Debtor’s accounts

that have been allegedly sold, transferred, factored, liened, encumbered or otherwise transferred

to entities such as (i) ezMed, LLC, (ii) MedFinance Servicing LLC, (iii) Well States Healthcare

LLC, (iv) Surgical Capital Solutions, Inc., (v) Surgical Capital Management, LLC, (vi) Surgical

Capital Management III, LLC, and (vii) Medical Lien Assignments, LLC (collectively, the

“Factoring Companies”).

       21.   Sentinel has collected and continues to collect and hold monies on account of

services rendered by the Debtor, that originated from accounts in the name of the Debtor or

money owed to the Debtor, that are not subject to agreements with Factoring Companies and are

not otherwise subject to any claim of lien or ownership by any third party (the “Undisputed

Estate Funds”).




                                                  4
                Case 23-01069-PDR         Doc 1       Filed 03/27/23   Page 5 of 10




         22.   Upon information and belief, Sentinel has and continues to, including post-petition,

pay itself fees and other charges allegedly due to it out of the Estate Funds including the

Undisputed Estate Funds.

         23.   Sentinel is in possession of records (the “Records”) concerning the receivables of

the Debtor, including documents showing the status of certain receivables and information

needed for collection thereof.

         24.   The Estate Funds and Records constitute property of the estate pursuant to Section

541 of the Bankruptcy Code.

                                    COUNT I
                       TURNOVER OF PROPERTY OF THE ESTATE

         25.   Plaintiff re-alleges and incorporates each and every allegation set forth in

paragraphs 1 through 24, above, as though fully set forth herein.

         26.   This is an action for turnover of property of the estate pursuant to Section 542 of

Bankruptcy Code.

         27.   Sentinel has collected and continues to collect on accounts that originated from

money owed to the Debtor, whether such money or account was allegedly sold, transferred,

factored, liened, encumbered or otherwise transferred.

         28.   Sentinel has purportedly assisted the Debtor in collecting on the accounts that

originated from money owed to the Debtor by virtue of selling off, factoring, liening,

encumbering, or otherwise transferring the accounts belonging to the Debtor.

         29.   Sentinel also collects the Estate Funds on behalf of the Factoring Companies.

         30.   Sentinel is in possession of the Estate Funds, including the Undisputed Estate

Funds.




                                                  5
                Case 23-01069-PDR         Doc 1       Filed 03/27/23   Page 6 of 10




       31.     Further Sentinel is in possession of the Records concerning the receivables of the

Debtor, including documents showing the status of certain receivables and information needed

for collection thereof.

       32.     The Estate Funds and Records constitute property of the estate to be recovered and

administered as part of the estate pursuant to Section 541 of the Bankruptcy Code.

       33.     Sentinel has contractually agreed that the Records are the exclusive property of the

Debtor.

       34.     Despite demand, Sentinel has failed and refused to turn over the Undisputed Estate

Funds and Records to the Trustee.

       35.     As a result of the foregoing, pursuant to Section 542 of the Bankruptcy Code,

Plaintiff is entitled to the immediate turnover of (a) the Undisputed Estate Funds and (b) the

Records relating to the accounts in the name of or money owed to the Debtor, whether such

account was allegedly sold, transferred, factored, liened, encumbered or otherwise transferred.

    WHEREFORE, Plaintiff demands the entry of a judgment against Sentinel (i) ordering it to

turn over to Plaintiff any and all funds for any accounts, that originated from money owed to the

Debtor relating to the Undisputed Estate Funds; (ii) ordering it to turn over to Plaintiff any and

all Records relating to any and all accounts in the name of the Debtor, including the receipt and

disbursement of funds relating to such accounts, regardless of whether such accounts were sold,

transferred, factored, liened, encumbered or otherwise transferred; (iii) ordering it to turn over to

the Plaintiff all agreements between Sentinel and the Factoring Companies relating to collection

on accounts in the name of the Debtor; (iv) providing for entry of a judgment against the Sentinel

for the value of the Undisputed Estate Funds; and (v) for any other relief the Court deems

appropriate.




                                                  6
               Case 23-01069-PDR          Doc 1       Filed 03/27/23   Page 7 of 10




                                       COUNT II
                                DEMAND FOR ACCOUNTING

       36.    Plaintiff re-alleges and incorporates each and every allegation set forth in

paragraphs 1 through 24 above, as though fully set forth herein.

       37.    This is an action for an accounting.

       38.    The contractual relationship is defined by the Sentinel Contract.

       39.    The information needed to determine the value of the Estate Funds in Sentinel’s

possession is within the control of Sentinel.

       40.    Plaintiff is unable to determine the exact value and location of the Estate Funds,

including the Undisputed Estate Funds, in Sentinel’s possession, custody and/or control and in

the possession, custody and/or control of the Factoring Companies who obtained Estate Funds

through money and/or accounts that were allegedly sold, transferred, factored, liened,

encumbered or otherwise transferred.

       41.    Without an accounting, Plaintiff has no remedy at law, as it is impractical, if not

completely impossible, to determine the value of Estate Funds, including the Undisputed Estate

Funds, in Sentinel’s possession, custody and/or control and in the possession, custody and/or

control of the Factoring Companies who obtained Estate Funds through money and/or accounts

that were allegedly sold, transferred, factored, liened, encumbered or otherwise transferred.

       42.    Upon information and belief, Sentinel has and continues to, including post-petition,

pay itself fees and other charges allegedly due to it out of the Estate Funds.

       43.    Despite demand, Sentinel has failed and refused to provide an accounting of the

money and/or accounts that originated from money owed to the Debtor, or an accounting of

payments made to Sentinel out of the Estate Funds.




                                                  7
               Case 23-01069-PDR         Doc 1       Filed 03/27/23   Page 8 of 10




       44.   Based upon the acts and omissions alleged herein, Plaintiff is entitled to an

accounting of (i) all transactions and other dealings between Sentinel and the Debtor including

with respect to collections on all accounts in the name of the Debtor, , regardless of whether such

account was allegedly sold, transferred, factored, liened, encumbered or otherwise transferred;

(ii) all fees, charges or monies paid to Sentinel in connection with their services relating to the

Debtor’s accounts, regardless of whether such account was allegedly sold, transferred, factored,

liened, encumbered or otherwise transferred, including pursuant to the Sentinel Contract; and

(iii) all transactions and other dealings between Sentinel and each of the Factoring Companies

with respect to accounts that originated from money owed to the Debtor.

    WHEREFORE, Plaintiff demands the entry of a judgment against Sentinel (i) ordering

Sentinel to account to Plaintiff regarding the value and location of the Estate Funds in Sentinel’s

possession, custody and/or control and in the possession, custody and/or control of the Factoring

Companies who obtained Estate Funds through money and/or accounts that were allegedly sold,

transferred, factored, liened, encumbered or otherwise transferred; (ii) providing for an

accounting of (x) all transactions and other dealings between Sentinel and the Debtor including

with respect to collections on all accounts in the name of the Debtor, regardless of whether such

account was allegedly sold, transferred, factored, liened, encumbered or otherwise transferred;

(y) all fees, charges or monies paid to Sentinel in connection with their services relating to the

Debtor’s accounts, regardless of whether such account was allegedly sold, transferred, factored,

liened, encumbered or otherwise transferred, including pursuant to the Sentinel Contract; and (z)

all transactions and other dealings between Sentinel and each of the Factoring Companies with

respect to accounts with the Debtor; and (iii) for any other relief the Court deems appropriate.




                                                 8
              Case 23-01069-PDR           Doc 1       Filed 03/27/23   Page 9 of 10




                                        COUNT III
                                    INJUNCTIVE RELIEF

       45.   Plaintiff re-alleges and incorporates each and every allegation set forth in

paragraphs 1 through 24, above, as though fully set forth herein.

       46.   This is an action for entry of a preliminary and permanent injunction against

Defendant pursuant to Federal Rule of Bankruptcy Procedure 7065.

       47.   Plaintiff seeks an Order that any further collection of the accounts and monies on

account of the Debtor, that originated from money owed to the Debtor, whether such money or

account was allegedly sold, transferred, factored, liened, encumbered or otherwise transferred be

enjoined pursuant to § 105(a) of the Bankruptcy Code.

       48.   Plaintiff believes that the requested injunction is necessary and appropriate to carry

out his duties in accordance with the provisions of the Bankruptcy Code, and that any further of

collection or settlement of the accounts and monies on account of the Debtor, that originated

from money owed to the Debtor, whether such money or account was allegedly sold, transferred,

factored, liened, encumbered or otherwise transferred would seriously impair the estate.

       49.   Sentinel is exposed to no possibility of suffering irreparable harm by an injunction.

       WHEREFORE, Plaintiff respectfully requests the entry of appropriate orders and a final

judgment against Defendant: (i) enjoining Sentinel from, among other things, pursuing any

further collection of the accounts and monies on account of the Debtor, that originated from

Undisputed Estate Funds; and (ii) awarding such relief as the Court deems just.

                                RESERVATION OF RIGHTS

       Plaintiff reserves the right to amend this Complaint, upon completion of his investigation

and discovery, to assert any additional claims for relief against Defendant as may be warranted

under the circumstances allowed by law.



                                                  9
     Case 23-01069-PDR   Doc 1    Filed 03/27/23   Page 10 of 10




Dated: March 27, 2023.      Respectfully submitted,

                            VENABLE LLP
                            Attorneys for Kenneth A. Welt,
                             as Chapter 7 Trustee
                            100 N. Tampa Street, Suite 2600
                            Tampa, Florida 33602
                            Telephone: (813) 439-3100
                            Facsimile: (813) 439-3110

                            By: /s/ Eric D. Jacobs
                               Glenn D. Moses, Esq.
                               Florida Bar No. 174556
                               gmoses@venable.com
                               Eric D. Jacobs, Esq.
                               Florida Bar No. 85992
                               ejacobs@venable.com




                                 10
